Case: 2:19-cv-00849-ALM-EPD Doc #: 72 Filed: 06/24/19 Page: 1 of 9 PAGEID #: 1180




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

M.A., an individual,           :   Case No.: 2:19-cv-00849
                               :   Judge Algenon L. Marbley
                               :   Magistrate Judge Elizabeth Preston
                               :                        Deavers
       Plaintiff,              :
                               :
               --vs.--         :
                               :
WYNDHAM HOTELS AND RESORTS, :
 INC., et al.,                 :
                               :
       Defendants.             :
———————————————————————————————————————
  REPLY MEMORANDUM OF DEFENDANT FIRST HOTEL MANAGEMENT, LLC,
   TO PLAINTIFF’S CONSOLIDATED RESPONSE TO DEFENDANTS’ MOTIONS
                            TO DISMISS

       Now comes Defendant First Hotel Management, LLC, (“First Hotel” or “First Hotel

Management” or “Defendant”), by and through the undersigned counsel, and states the following

as its Reply to Plaintiff’s Consolidated Response to certain Defendants’ Motions to Dismiss.

I. First Hotel Did Not ‘Participate’ with Plaintiff’s Captor in a ‘Venture.’

       The Sixth Circuit has construed the meaning of the words “participate” and “venture” in

the context of the TVPRA to mean an undertaking directed towards a single, defined end. A hotel

guest’s for-profit criminal actions at the hotel do not give rise to a cause of action under the TVPRA

unless the hotel had actual knowledge of the venture and profited from the actual criminal activity.

Plaintiff’s theory of liability would make hotels strictly liable for criminal activity that goes on in

the hotel even when that activity is actively concealed from the hotel. The TVPRA contemplates

liability when there is some concerted plan to profit from the activity, and the Complaint in this

case is devoid of any such allegations.
Case: 2:19-cv-00849-ALM-EPD Doc #: 72 Filed: 06/24/19 Page: 2 of 9 PAGEID #: 1181




       Plaintiff’s legal position fails practical tests of statutory interpretation and application of

Sixth Circuit case law. As noted by Plaintiff, “[a]ll of the definitions in § 1591 are expressly

limited to the criminal context at issue in § 1591 by subsection § 1591(e) which begins, ‘In this

section.’” Plntf.’s Consolidated Response, Docket number (“Dkt.”) 66, at 13. In that section, §

1591(e), the term “venture” is defined broadly as “any group of two or more individuals associated

in fact, whether or not a legal entity.” 18 U.S.C. § 1591(e)(6). However, in a case invoking the

criminal context of this portion of the Trafficking Victims Protection Act, even where the term

‘venture’ is afforded broad meaning, the United States Court of Appeals for the Sixth Circuit has

limited application of the term ‘venture’ as statutorily defined to mean actual participation in and

the commission of some “‘overt act’ that furthers the sex trafficking aspect of the venture.” U.S.

v. Afyare (6th Cir. 2016), 632 Fed. Appx. 272, 286. In the context of a criminal prosecution, without

more, evidence of co-defendants’ interactions with one another by, for example, being in the same

car, driving one another’s cars, and dining together “is irrelevant and properly excluded.” Id.; see

also id. at 285, debasing any reference to a ‘guilt by association’ argument.

       In the civil remedy provision of the Trafficking Victims Protection and Reauthorization

Act, pled here, reference to the Sixth Circuit Afyare case remains instructive in understanding the

statute’s use of the term ‘venture.’ There, the Sixth Circuit noted that

               [a] "venture," according to Black's Law Dictionary, is "[a]n
               undertaking that involves risk; esp., a speculative commercial
               enterprise." And according to the Random House Webster's
               Unabridged Dictionary, a "venture" is "an undertaking involving
               uncertainty as to the outcome, esp. a risky or dangerous one"; or "a
               business enterprise or speculation in which something is risked in
               the hope of profit; a commercial or other speculation"; or "the
               money, ship, cargo, merchandise, or the like, on which risk is taken
               in a business enterprise or speculation." Clearly, each of these
               definitions requires an undertaking of some kind directed to some
               defined end.



                                                 2
Case: 2:19-cv-00849-ALM-EPD Doc #: 72 Filed: 06/24/19 Page: 3 of 9 PAGEID #: 1182




632 Fed.Appx. at 279 (emphasis added). As explained in First Hotel’s Motion to Dismiss, hotels

receive rental revenue from every guest, regardless of a guest’s purpose in staying at the hotel.

Motion to Dismiss, Dkt. 40, at 7. In other words, the hotel’s room rental revenue, in a fixed

amount, is in no way indicative of the existence of any ‘venture’ between the hotel and its guest

because receipt of payment for the room does not depend upon the reason the guest stays at the

hotel, and is in no way tied to whether the guest receives money in a surreptitious manner by

engaging in sex trafficking. The rent paid to the hotel does not increase or decrease based upon

the success or failure of any criminal sex trafficking scheme. So, as supported by the Sixth

Circuit’s rationale in the Afyare case, a venture requires “an undertaking of some kind directed to

some defined end.” 632 Fed.Appx. at 279. The hotel’s ‘defined end’ of providing shelter and a

place to sleep stops markedly short of the criminal trafficker’s ‘defined end’ in selling someone

for sex. Thus, there is no venture present so as to invoke a hotel’s liability under the TVPRA.

       Plaintiff is correct in stating that the hospitality industry is very different from the

“hypothetical soccer team” described in the Afyare opinion. Cf. Plntf.’s Consolidated Response,

Dkt. 66, at 17-18. One unique aspect of the hospitality industry is its obligation to afford guests a

right of privacy. It is doubtlessly true that all commercial premises or services, while not

intrinsically dangerous, could possibly be used for nefarious ends. See City of Los Angeles v. Patel

(2015), 135 S.Ct. 2443, at note 5. And as argued in First Hotel’s Motion to Dismiss, Dkt. 40,

police or security presence at a property serve to demonstrate that hotel management is not “in a

venture” with guests regarding the commission of crime. Cf. Motion to Dismiss, Dkt. 40, at 14.

A review of the Complaint itself supports the conclusion that when police are notified of concerns

of human trafficking on hotel premises, by hotel staff or otherwise, there is no assurance of

immediate liberation of those held captive. Cf. Complaint, Dkt. 1, at note 25 (restating headline



                                                 3
Case: 2:19-cv-00849-ALM-EPD Doc #: 72 Filed: 06/24/19 Page: 4 of 9 PAGEID #: 1183




of a newspaper article as Five Arrested After Months-Long Investigation Into Human Trafficking

Ring) (emphasis added). The contents of the Complaint itself thus undercut Plaintiff’s gratuitous

castigation of all Defendants, where the Consolidated Response states that the pending motions

reveal that “their only real defense” is that they are not liable “because they turned a blind eye to

sex trafficking in their businesses.” Consolidated Response, Dkt. 66, at 18. It is equally plausible,

however, that hotel staff informed police of suspected wrongdoing and allowed for the arrest and

resulting prosecution of the trafficker. There is, as stated, no properly-pleaded or contemplated

“venture” between the Defendant hotel and a criminal on its premises.

       Plaintiff’s position advanced in its Consolidated Response conspicuously gives no

attention to the statutory term “participation” when setting up its so-called beneficiary theory of

liability, in an attempt to “ensnare conduct that the statute never contemplated.” Cf. Afyare, 632

Fed. Appx. 272, 286. The Afyare decision holds that for criminal liability to ensue, a defendant

must “actually participate and commit some ‘overt act,’” and not merely possess “negative

acquiescence.” Id. This is supported by the TVPRA’s definition of the phrase “participation in a

venture” which means “knowingly assisting, supporting, or facilitating a violation of subsection

(a)(1).” 18 U.S.C. § 1591(e)(4). Plaintiff argues in its Consolidated Response that the parenthetical

text of 18 U.S.C. § 1595(a) “create[s] a category of defendants that could be held liable civilly

even in the absence of criminal culpability.” Consolidated Response, Dkt. 66, at 7-8. Assuming

this is true, proper candidates for this type of liability, under a sister Circuit’s case law and

involving the hospitality industry would be (at the pleading stage) the type of hotel operator named

in the First Circuit Ricchio decision. There, the Complaint contained allegations of a prior course

of commercial dealings between the hotel defendant and a captor/trafficker, which said parties

intended to reinstate for profit, and the trafficker and hotel operator enthusiastically exchanged



                                                 4
Case: 2:19-cv-00849-ALM-EPD Doc #: 72 Filed: 06/24/19 Page: 5 of 9 PAGEID #: 1184




high-fives in the parking lot about “getting this thing going again,” and the trafficker’s coercive

and abusive treatment of the plaintiff as a sex slave was apparent. Cf. Ricchio v. McLean (1st Cir.

2017), 853 F.3d 553, 555. Allegations of First Hotel’s purported knowledge in this case of

Plaintiff’s situation is decidedly different from those in Ricchio. Here there are no allegations of

past business relationships and no indication of affirmative acts by hotel management to “getting

[any]thing going again.” All that is alleged is the hotel defendants’ failure to protect victims,

develop training, and implement appropriate measures. See, e.g., Consolidated Response, Dkt.

66, at 2. The hotel’s “original or primary association” with any purported trafficker is the benign

purpose of renting a room. Cf. Afyare at 286 (the hypothetical parties’ original or primary

association was for playing soccer). The hotel’s relationship with any alleged trafficker cannot

morph into a sex trafficking venture without allegations of affirmative acts of both parties, as

contemplated in Afyare, or the kind of acute knowledge alleged in the Ricchio decision.

        If Plaintiff were correct and a commercial enterprise could be held civilly liable under 18

U.S.C. § 1595(a) merely because the enterprise failed to recognize that the services were rendered

to a sex trafficker and his or her victim, a deluge of unintended civil liability would result. For

example, conceivably a taxi-service could be liable if its driver failed to identify signs of sex-

trafficking in its passengers. A fast food restaurant or diner could be liable if its waitstaff failed to

recognize and report signs of sex-trafficking in its patrons. Any service industry that receives

payment from the sex trafficker and fails to recognize the signs of sex trafficking could arguably

be the financial beneficiary of the sex-trafficking venture. This logical end to Plaintiff’s proposed

theory of liability reaches the absurd. It highlights the importance of the “participation” element

in 18 U.S.C. § 1595(a) and exemplifies why the Sixth Circuit Court of Appeals held that




                                                   5
Case: 2:19-cv-00849-ALM-EPD Doc #: 72 Filed: 06/24/19 Page: 6 of 9 PAGEID #: 1185




“participation” required the defendant to “actually participate and commit some ‘overt act’” and

not merely possess “negative acquiescence.” Afyare, 632 Fed. Appx. at 286.

II. The Complaint Still Fails to Conform to Recognized Pleading Standards.

         Plaintiff advances unworkable and illogical theories in its Consolidated Response, efiled

and docketed herein as Dkt. 66. Initially, Plaintiff posits that because three of nine defendants

“found Plaintiff’s initial pleading facially sufficient and answered the Complaint[,]” id. at 1, the

Motions to Dismiss should be somehow discredited. The legal assessment, investigation, and

resulting choice of any of the named Defendants, as independent economic actors, in no way affect

a particular litigant’s position advanced herein. It would be equally puerile if Defendants were to

propose that because a majority of them (six out of nine) did not find the Complaint to contain

plausible allegations, the Complaint should fail because only one-third of the Defendants chose to

plead in response. This case is not to be resolved by polling the Defendants, but rather by analyzing

the statutory text and applicable decisional law.

         Even more enthralling is Plaintiff’s contention that because one of the moving Defendants

“was able to investigate Plaintiff’s claims and identify a sex trafficker working out of its hotel[,]”

arguments that the Complaint is facially invalid are disproven. Id. at 1-2. Again, it is irrelevant

that (only) one of the named Defendants was able to identify Plaintiff’s trafficker despite this

criminal not being named in the Complaint.1 On this record, the other eight Defendants were

arguably not able to determine Plaintiff’s trafficker’s identity. Though here, the Court should not

be guided by polling the varying Defendants’ responses to the Complaint. Instead, First Hotel’s




1
 Because Plaintiff does not, in her Consolidated Response, challenge that portion of Defendant Krrish Lodging, LLC’s
Motion to Dismiss (Dkt. 43) concerning the identity of Plaintiff’s trafficker, First Hotel assumes the accuracy of the
criminal trafficker’s identity contained in Krrish’s Motion. Cf. Krrish Motion to Dismiss, Dkt. 43, at 2. First Hotel
also certainly agrees with the general statements of co-Defendant Krrish condemning criminal activity of all types,
and particularly human trafficking and its abuses of, mostly, women and children. Id.

                                                          6
Case: 2:19-cv-00849-ALM-EPD Doc #: 72 Filed: 06/24/19 Page: 7 of 9 PAGEID #: 1186




pending Motion to Dismiss, Dkt. 40, draws into question the legal sufficiency of the Complaint

itself, and whether it contains enough (alleged) facts “to state a claim to relief that is plausible on

its face.” Bell Atl. Corp. v. Twombly (2007) 550 U.S. 544, 570 (emphasis added).

       Nowhere in the Complaint is Plaintiff’s trafficker named or otherwise identified. Simply

stated, it is not Defendant’s burden at the pleading stage to investigate, assess, and establish the

identity of Plaintiff’s trafficker. Plaintiff should have done that in the Complaint as part of an

attempt to state a plausible claim for relief and to place Defendant on adequate notice of the claim

advanced. As a further example, according to Plaintiff, “[a]t each and every Defendant hotel, the

trafficker regularly instructed the Plaintiff to refuse housekeeping services…[and] [e]ach of the

rooms at each and every Defendant hotel in which Plaintiff was trafficked showed noticeable signs

of human trafficking…” Plntf.’s Consolidated Response, Dkt. 66, at 3. Without a name attached

to the trafficker, under whose name the rooms were presumably registered, Defendant simply

cannot adequately investigate the plausibility of these allegations.

       The day after First Hotel moved to dismiss the Complaint, Plaintiff moved for a protective

order. See Dkt. 40, 44. While the parties have subsequently agreed to terms of a Stipulated

Protective Order, see Dkt. 60, resolution of Plaintiff’s Motion for a protective order does not

address, or otherwise cure, Plaintiff’s failure to name her trafficker. With conceivably many

thousands of guests traveling in and out of a hotel’s doors each year, an aggrieved individual, such

as Plaintiff, cannot plausibly allege against a hotel that some unnamed individual with whom the

hotel was allegedly “in a venture” took Plaintiff to a private hotel room, thereby making the hotel

responsible under a federal statute for some very bad things that happened on hotel property some

four to five years ago.




                                                  7
Case: 2:19-cv-00849-ALM-EPD Doc #: 72 Filed: 06/24/19 Page: 8 of 9 PAGEID #: 1187




       Defendant does not wish to sound overly crass or dismissive of Plaintiff’s plight and her

presumed truthful status as a survivor of sex crimes, yet this is why Plaintiff’s Complaint, which

at first contained her identification as a pseudonym, and persists in failing to identify her criminal

trafficker, must be dismissed pursuant to standards governing pleading in federal cases.

III. Plaintiff Has Not Adequately Responded to First Hotel’s Arguments Concerning Joint
     and Several Liability, and Necessary Parties.

    Plaintiff’s position advanced conflates her claimed culpability of different economic actors.

As an example, Plaintiff highlights paragraph 62 of the Complaint alleging that the Wyndham

franchise and its Days Inn brand know that sex traffickers use hotels based on activities of the

Crips gang in San Diego, California. Once more, Defendant does not want to appear obtuse to

Plaintiff’s (presumably truthful) status as a victim of sex trafficking, but allegations of crime

occurring over 2,000 miles away from Columbus does little to support an allegation of a venture

between a hotel brand in Columbus and a sex trafficker. Defendants cannot be held to account for

actions, or inactions transpiring on business premises that they each do not own, control, or have

no right to control. Plaintiff’s request for a favorable result on “all counts against each and every

Defendant, jointly and severally,” Complaint, Dkt. 1 at 35, must be stricken at the very least.

    Similarly, on this record, First Hotel cannot be held to account for a prior owner and operator’s

conduct of the business premises at issue. Plaintiff has not plead or thus far supported any valid

reason for nonjoinder of the prior owner, MGH Hospitality, Ltd. Plaintiff should be ordered to

join all necessary parties in the event the matter progresses.

IV. Conclusion

    The Sixth Circuit has construed the meaning of the words “participate” and “venture” in the

context of the TVPRA to mean an undertaking directed towards some single, defined end. A

hotel’s guests have many reasons for staying at a hotel. Some reasons are, unfortunately and often


                                                  8
Case: 2:19-cv-00849-ALM-EPD Doc #: 72 Filed: 06/24/19 Page: 9 of 9 PAGEID #: 1188




unavoidably, nefarious. The hotel’s purpose is to provide a room. That is all. The fact that guests

have a myriad of purposes, some nefarious, does not ensnare a hotel business into liability under

the TVPRA. Plaintiff’s Complaint should be dismissed.



                              Respectfully submitted,

 JOSEPH L. PICCIN CO., LLC                          GALLAGHER SHARP, LLP

 /s/ Joseph L. Piccin       __                      /s/ Steven D. Strang_________
 JOSEPH L. PICCIN (0072553)                         STEVEN D. STRANG (0085444)
 3010 Hayden Road                                   STEVEN A. KESLAR (0090743)
 Columbus, OH 43235                                 Sixth Floor – Bulkley Bldg.
 Tel.: 614-659-9616                                 1501 Euclid Avenue
 Fax: 614-798-1935                                  Cleveland, OH 44115
 Mobile: 614-354-1099                               Tel.: 216-241-5310
 E-mail: JLP@joepiccin.com                          Fax: 216-241-1608
 Lead Trial Counsel for Defendant                   E-mail: sstrang@gallaghersharp.com
   First Hotel Management, LLC                               skeslar@gallaghersharp.com
                                                    Counsel for Defendant First Hotel
                                                        Management, LLC


                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and accurate copy of the foregoing Reply
Memorandum was uploaded for electronic filing through the Court’s Electronic Case Filing
System (CM/ECF), and Notice will thus be sent to all registered parties, per Civil Rule 5(b)(2)(E),
on this 24th day of Jun., 2019.


                                                      /s/ Joseph L. Piccin
                                                      JOSEPH L. PICCIN
                                                      Ohio Bar Reg. No. 0072553
                                                      Lead Trial Counsel for Defendant
                                                        First Hotel Management, LLC




                                                9
